                  Case 2:04-cv-09049-DOC-RNB Document 4385 Filed 10/22/08 Page 1 of 2 Page ID
                                                  #:122134



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                    8                           UNITED STATES DISTRICT COURT
                    9                       CENTRAL DISTRICT OF CALIFORNIA
                   10                                EASTERN DIVISION
                   11 CARTER BRYANT, an individual,               CASE NO. CV 04-9049 SGL (RNBx)
                   12              Plaintiff,                     Consolidated with
                                                                  Case No. CV 04-09059
                   13        vs.                                  Case No. CV 05-02727
                                                                  NOTICE OF FILING OF PHASE 1A
                   14 MATTEL, INC., a Delaware                    AND PHASE 1B TRANSCRIPTS IN
                      corporation,                                SUPPORT OF AND OPPOSITION
                   15                                             TO: MATTEL, INC.'S MOTION
                                   Defendant.                     FOR PERMANENT INJUNCTION
                   16
                   17 AND CONSOLIDATED ACTIONS                    Hearing Date: November 10, 2008
                                                                  Time:         1:00 p.m.
                   18                                             Place:        Courtroom 1
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07209/2677177.1
                        NOTICE OF FILING OF TRANSCRIPTS IN SUPPORT OF AND OPPOSITION TO MOTION FOR PERMANENT
                                                                                                   INJUNCTION
                  Case 2:04-cv-09049-DOC-RNB Document 4385 Filed 10/22/08 Page 2 of 2 Page ID
                                                  #:122135



                    1         PLEASE TAKE NOTICE that plaintiff Mattel, Inc. ("Mattel") hereby submits
                    2 the following trial transcripts in accordance with the Court's Order Re Citation to
                    3 and E-Filing of Oversized Transcript dated September 9, 2008.
                    4 Mattel, Inc.'s Motion for Permanent Injunction:
                    5        5/27/2008 P.M.                               8/06/2008 P.M.
                             5/28/2008 A.M.                               8/07/2008 A.M.
                    6
                             5/29/2008 A.M.                               8/07/2008 P.M.
                    7        5/29/2008 P.M                                8/08/2008 A.M.
                             6/05/2008 P.M.                               8/08/2008 P.M.
                    8
                             6/06/2008 A.M.                               8/12/2008 A.M.
                    9        6/06/2008 P.M.                               8/12/2008 P.M.
                             6/13/2008 A.M.                               8/13/2008 A.M.
                   10
                             7/02/2008 P.M.                               8/13/2008 P.M.
                   11        7/03/2008 A.M.                               8/15/2008 P.M.
                             7/03/2008 P.M.                               8/18/2008 Conference
                   12
                             7/10/2008 P.M.                               8/20/2008 A.M.
                   13        7/21/2008 P.M.                               8/20/2008 P.M.
                             7/23/2008 A.M.                               8/22/2008 Hearing
                   14
                             7/23/2008 P.M.                               8/26/2008 Hearing
                   15        8/05/2008 A.M.                               8/27/2008 Hearing
                   16        8/05/2008 P.M.

                   17
                        DATED: October 22, 2008            QUINN EMANUEL URQUHART OLIVER &
                   18                                      HEDGES, LLP
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                   20
                   21                                       By /s/ B. Dylan Proctor
                                                              B. Dylan Proctor
                   22                                         Attorneys for Mattel, Inc.
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                         NOTICE OF FILING OF TRANSCRIPTS IN SUPPORT OF AND OPPOSITION TO MOTION FOR PERMANENT
                                                                                                    INJUNCTION
